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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

GEORGIA STATE CONFERENCE
OF THE NAACP; TROUP COUNTY
NAACP; PROJECT SOUTH;
CHARLES BREWER; CALVIN
MORELAND; APRIL WALTON;
PAMELA WILLIAMS; JOHN

DOE #1, JOHN DOE #2; and JOHN

DOE #3, CIVIL ACTION FILE

Plaintiffs, NO. 3:17-CV-67-TCB

Vv.

CITY OF LAGRANGE, GEORGIA,

Defendant.

DEFENDANT CITY OF LAGRANGE, GEORGIA'S ANSWER TO
PLAINTIFFS' AMENDED COMPLAINT

Defendant CITY OF LAGRANGE, GEORGIA (the "City"), files its Answer
to Plaintiffs’ Amended Complaint and shows the Court the following:

FIRST DEFENSE

The City's policies do not violate the Fair Housing Act of 1968, as amended,

42 U.S.C. § 1301 et. seq. ("FHA") or the United States Constitution or Georgia

Law.
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SECOND DEFENSE

A disparate impact claim is not cognizable under the Fair Housing Act, 42
U.S.C. § 3604(b), and therefore Plaintiffs fail to state a claim upon which relief can
be granted.

THIRD DEFENSE

The policies of the City are not "artificial, arbitrary and unnecessary" and

comport with Texas Department of Housing an Community Affairs v. Inclusive

Communities Project, Inc., 135 U.S. 2507 (2015).

FOURTH DEFENSE

The City's policies are proper revenue-raising governmental functions and
service delivery functions designed to promote the public health, safety, morality
and welfare of residents of The City of LaGrange, Georgia and therefore do not
violate the FHA.

FIFTH DEFENSE

The City no longer requires its applicants to provide a Social Security
Number and Plaintiffs’ allegations as to any such previous policy are moot.

SIXTH DEFENSE

The Plaintiffs, and in particular the individually named Plaintiffs, have failed

to exhaust administrative remedies prior to filing suit.
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SEVENTH DEFENSE

The individually named Plaintiffs have failed to mitigate any damages
alleged.

EIGHTH DEFENSE

The City has not acted with discriminatory intent, nor do its policies have a
disparate impact and therefore the City has not violated the FHA.

NINTH DEFENSE

The purported John Doe #2 Plaintiff is unidentifiable and only alleged a
vague desire to purchase a house in LaGrange, and failed to allege a concrete and
imminent harm and therefore lacks standing to pursue prospective relief against the
City.

TENTH DEFENSE

The Georgia State Conference of the NAACP is not a utility customer of the

City and therefore lacks standing to bring any claims against the City.

ELEVENTH DEFENSE

The Troup County NAACP is not a utility customer of the City and therefore

lacks standing to bring any claims against the City.
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TWELFTH DEFENSE

Project South is not a utility customer of the City and therefore lacks
standing to bring any claims against the City.

THIRTEENTH DEFENSE

Pamela Williams fails to allege any actionable allegation upon which she has
been denied any utility service and therefore lacks standing and fails to state a
cause of action upon which relief can be granted.

FOURTEENTH DEFENSE

The City has an obligation to its citizens to collect fees and revenue owed,
due and payable for debt of any type owed to the City, as well as for any utility
service provided to a customer, accordingly the City has acted in good faith to
effectuate collection of any debt owed to the City through its Code of Ordinances
that are reasonable, not artificial, arbitrary or unnecessary as they have been
lawfully enacted pursuant to the City's Charter, as well as pursuant to the laws and
Constitution of the State of Georgia, and the laws and Constitution of the United

States of America to ensure payment of any such debt owed to the City.
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FIFTEENTH DEFENSE

The City has not violated any laws, rules, regulations or Constitution of the
State of Georgia or unlawfully or tortuously interfered with any utility service

recipients' delivery of utilities.

SIXTEENTH DEFENSE

The City has not violated any laws, rules, regulations or Constitution of the
United States of America.

SEVENTEENTH DEFENSE

The City's Code of Ordinances are neutral as to race, national origin, and
citizenship and have been lawfully enacted pursuant to the City's Charter, the laws
and Constitution of the State of Georgia, and the laws and Constitution of the
United States of America such that they apply equally to all residents and utility

service recipients.

EIGHTEENTH DEFENSE

No action by the City has interfered with any Plaintiffs rights to housing,
and the City has undertaken no action designed to coerce or intimidate any Plaintiff
or group of residents from residing within the City or in obtaining or maintaining

utility services in contravention of the FHA.
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NINTEENTH DEFENSE

The City raises all those affirmative defenses set forth in FED. R. CIV. P.

8(c).

TWENTIETH DEFENSE

No Act or Omission on the part of the City proximately caused or
contributed to any damages allegedly suffered by Plaintiffs; therefore Plaintiffs

have no right of recovery.

TWENTY-FIRST DEFENSE

The City is entitled to sovereign immunity against Plaintiffs’ federal claims,

and governmental immunity for Plaintiffs' state claims.

TWENTY-SECOND DEFENSE

The City reserves the right to reasonably amend these affirmative

defenses as needed or as warranted by discovery in this case.

TWENTY-THIRD DEFENSE

Responding to the individually numbered allegations in the Amended

Complaint, the City shows the Court the following:
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ANSWER TO: INTRODUCTION

ile
As it only deals with Plaintiffs' motivations for filing the Amended
Complaint, the City is not required to answer the allegations in Paragraph 1 of
Plaintiffs’ Amended Complaint. To the extent that an answer is required, the City
denies any wrongdoing or liability.
2s
In response to Paragraph 2 of the Amended Complaint, the City denies that
its policies restrict access to vital services including electricity, gas, and water, or
that it has a disproportionate effect on African Americans or Latinos and further
denies the remainder of the allegations contained in Paragraph 2 of the Amended
Complaint.
op
To the extent that Plaintiffs identify LaGrange Mun. Code § 20-1-7(h), and
recite its provisions, the City admits the allegations in Paragraph 3 of the Amended
Complaint, but denies such is unlawful and denies Plaintiffs’ use of nomenclature

as a City policy.
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4.

The City admits the allegations in Paragraph 4 of the Amended Complaint to
the extent that the City has previously advised customers who had a balance to the
City that services could be interrupted, but denies such is threatening or unlawful
and denies Plaintiffs use of nomenclature in characterizing the letters sent to utility
customers.

35

To the extent that Plaintiffs identify the City's utility application form the
City admits the allegations in Paragraph 5 of the Amended Complaint, but denies
such is unlawful.

6.

The allegations contained in Paragraph 6 of the Amended Complaint are
denied as stated because LaGrange Mun. Code § 20-1-7(h) was enacted pursuant to
the City's home rule power, O.C.G.A. § 36-35-3.

Tr
The City denies the allegations contained in Paragraph 7 of the Amended

Complaint.
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8.

The City denies the allegations contained in Paragraph 8 of the Amended
Complaint as pled.

9,

The City denies the allegations contained in Paragraph 9 of the Amended
Complaint as pled.

10.

The City denies the allegations contained in Paragraph 10 of the Amended
Complaint as pled.

11.

The City admits that it formerly required a Social Security Number and
government identification to apply for utilities as pled in Paragraph 11 of Plaintiffs’
Amended Complaint, but denies it currently requires a Social Security Number,
and denies that this policy has withheld utilities from those who cannot produce
such, and denies Plaintiffs’ nomenclature as a City policy.

12.

The City admits the allegations contained in Paragraph 12 of the Amended

Complaint to the extent that Plaintiffs identify the text of LaGrange Mun. Code §

20-1-11, but denies the remaining allegations as pled.
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13.
The City denies the allegations contained in Paragraph 13 of the Amended
Complaint.
14.
The City denies the allegations contained in Paragraph 14 of the Amended
Complaint.
15.
The City denies the allegations contained in Paragraph 15 of the Amended
Complaint as pled.
16,
The City denies the allegations contained in Paragraph 16 of the Amended
Complaint.
17.
The City denies the allegations contained in Paragraph 17 of the Amended
Complaint as pled.
18.
The City denies the allegations contained in Paragraph 18 of the Amended

Complaint.

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19.
The City denies the allegations contained in Paragraph 19 of the Amended
Complaint.
20.
The City denies the allegations contained in Paragraph 20 of the Amended
Complaint.
21.
The City denies the allegations contained in Paragraph 21 of the Amended
Complaint.
22.
The City denies the allegations contained in Paragraph 22 of the Amended
Complaint.
23.
The City lacks information necessary to admit or deny the allegations
contained in Paragraph 23 of the Amended Complaint as no individual is referred
to by name, but to the extent liability is alleged, the same is denied, and the City is

not liable to the Organizational Plaintiffs.

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24,
The City denies the allegations contained in Paragraph 24 of the Amended
Complaint.
25,
As Paragraph 25 of the Amended Complaint relates to Plaintiffs’ goals in
this litigation, no response is required, except to deny the City is liable to any
Plaintiffs, and Plaintiffs are not entitled to relief sought.

ANSWER TO: JURISDICTION AND VENUE

26.

Plaintiffs cite to the jurisdictional authority of the Court in Paragraph 26 of
the Amended Complaint and no response is necessary except to deny that the City
is liable to Plaintiffs.

27.

Plaintiffs cite to the Court's supplemental jurisdiction for state law claims in
Paragraph 27 of the Amended Complaint and no response is necessary as the Court
can choose to exercise its jurisdiction for judicial economy and no objection is

made by the City.

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28.
The City admits the venue as being proper as pled in Paragraph 28 of
Plaintiffs’ Amended Complaint, but denies it is liable to Plaintiffs.

ANSWER TO: PARTIES

29,

The City can neither admit nor deny the allegations contained in the first
four sentences of Paragraph 29 of the Amended Complaint, but denies the last
sentence of Paragraph 29 of the Amended Complaint, and asserts the Georgia
NAACP lacks standing to bring suit.

30.

The City can neither admit nor deny the allegations contained in the first
three sentences of Paragraph 30 of the Amended Complaint, but denies the last
sentence of Paragraph 30 of the Amended Complaint, and asserts the Troup
County NAACP lacks standing to bring suit.

31.

The City can neither admit nor deny the allegations contained in the first two
sentences of Paragraph 31 of the Amended Complaint, but denies the last sentence
of Paragraph 31 of the Amended Complaint, and asserts Project South lacks

standing to bring suit.

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32.

The City admits Mr. Brewer was charged, pled out and fined for
driving without a license, but denies the remainder of the allegations contained in
Paragraph 32 of the Amended Complaint as pled.

33.

The City admits Mr. Moreland was charged, pled out and fined for
shoplifting, but denies the remainder of the allegations contained in Paragraph 33
of the Amended Complaint as pled.

34.

The City admits Ms. Walton was charged, pled out and fined for a marijuana
possession charge, but denies remainder of the allegations contained in Paragraph
34 of the Amended Complaint as pled.

35.

The City denies the allegations contained in Paragraph 35 of the Amended

Complaint as pled.
36.
The City denies the allegations contained in Paragraph 36 of the Amended

Complaint as no individual is identified by name.

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37.
The City denies the allegations contained in Paragraph 37 of the Amended
Complaint as no individual is identified by name.
38.
The City denies the allegations contained in Paragraph 38 of the Amended
Complaint as no individual is identified by name.
39.
The City admits the allegations contained in the first sentence of Paragraph
39 of the Amended Complaint, but denies the second sentence as pled.
40.
The City admits it purchases electricity from MEAG as alleged in Paragraph
40 of the Amended Complaint, but denies it "restricts access" as alleged in
Paragraph 40 of the Amended Complaint.
41.
The City admits the allegations contained in Paragraph 41 of the Amended

Complaint.

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ANSWER TO: FACTUAL ALLEGATIONS

42.
The City admits the allegations contained in Paragraph 42 of the Amended
Complaint.
43.
The City admits the allegations contained in Paragraph 43 of the Amended
Complaint.
44,
The City admits the allegations contained in Paragraph 44 of the Amended
Complaint.
4S,
The City admits the allegations contained in Paragraph 45 of the Amended
Complaint.
46.
The City denies it is the "sole provider of essential municipal utilities" as
pled, but is without sufficient information to form a belief as to the truth or falsity
of the remaining allegations contained in Paragraph 46 of Plaintiffs' Amended

Complaint and can neither admit nor deny the same.

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47,

The City admits the allegations contained in Paragraph 47 of the Amended
Complaint, except the City denies the funds it generates and receives is "profit,"
but rather it is revenue from service delivery.

48.

The City denies the allegations contained in Paragraph 48 of the Amended
Complaint.

49,

The City denies the allegations contained in Paragraph 49 of the Amended
Complaint as pled.

50.

The City admits the allegations contained in Paragraph 50 of the Amended
Complaint.

51.

The City denies the allegations contained in Paragraph 51 of the Amended
Complaint as pled.

52.
The City is without sufficient information to form a belief as to the truth or

falsity of the allegations contained in Paragraph 52 of Plaintiffs' Amended

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Complaint and can neither admit nor deny the same, but does admit that it is not
uncommon for someone pleading guilty to a crime to be subject to fines, fees and
surcharges.

53.

The City admits the allegations contained in Paragraph 53 of the Amended
Complaint.

54.

The City admits the allegations contained in Paragraph 54 of the Amended
Complaint.

55.

The City admits the first sentence of Paragraph 55 of the Amended
Complaint as to its references to the Municipal code, but denies the last sentence of
Paragraph 55 of the Amended Complaint as pled.

56.
The City denies the allegations contained in Paragraph 56 of the Amended

Complaint as pled.

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57.

The City admits it collects a $35.00 per month probation fee and crime
victim fee of $9.00 on behalf of the State, but denies the remaining allegations
contained in Paragraph 57 of the Amended Complaint as pled.

58.

The City admits the allegations contained in Paragraph 58 of the Amended
Complaint.

59,

The City admits the allegations contained in Paragraph 59 of the Amended
Complaint.

60.

The City admits the allegations contained in Paragraph 60 of the Amended
Complaint.

61.

The City admits the allegations contained in Paragraph 61 of the Amended
Complaint.

62.
The City denies the allegations contained in Paragraph 62 of the Amended

Complaint.

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63.

The City admits the allegations contained in Paragraph 63 of the Amended
Complaint.

64.

The City admits the allegations contained in Paragraph 64 of the Amended
Complaint as to the title of the subject ordinance and the text recited, but denies the
remaining allegations as pled.

65.

The City denies the allegations contained in Paragraph 64 of the Amended
Complaint as pled.

66.

The City denies that conditioning receipt of services on requiring payment of
lawful municipal fees amounts to an illegal pre-condition or that it violates the
rights of LaGrange's residents as alleged in Paragraph 66 of the Amended
Complaint.

67.
The City denies the allegations contained in Paragraph 67 of the Amended

Complaint.

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68.

The City denies the allegations contained in Paragraph 68 of the Amended
Complaint, and the City denies that the City's policies are in violation of the federal
or state law cited, or violate the rights of any individual, therefore liability is
denied.

69.

The City denies the allegations contained in Paragraph 69 of the Amended
Complaint, and the City denies that the City's policies are in violation of the federal
or state law cited, or violate the rights of any individual, therefore liability is
denied.

70.

The City can neither admit nor deny the veracity of any individual's source
of income as alleged in Paragraph 70 of the Amended Complaint, but denies that
the City's policies are in violation of the federal law or state law cited, or violate
the rights of any individual, therefore liability is denied.

71.

The City denies the allegations contained in Paragraph 71 of the Amended

Complaint as pled as the City's policies are not in violation of the federal law or

state law cited, or violate the rights of any individual, therefore liability is denied.

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72.

The City can neither admit nor deny the veracity of any individual's source
of income as alleged in Paragraph 72 of the Complaint, but denies it controls the
Housing Authority, or that the City's policies are in violation of the federal law
cited, or violate the rights of any individual, therefore liability is denied.

73.
The City denies the allegations contained in Paragraph 73 of the Complaint
as pled as the City does not control the Housing Authority.
74.
The City denies the allegations contained in Paragraph 74 of the Complaint.
75.

The City denies the allegations contained in the first sentence in Paragraph
75 of the Complaint as pled, and can neither admit nor deny the remaining
allegations as pled.

76.
The City denies the allegations contained in Paragraph 76 of the Complaint

as pled.

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77.
The City denies the allegations contained in Paragraph 77 of the
Complaint.
78.
The City denies the allegations contained in Paragraph 78 of the
Complaint as pled.
79.

The City admits the first two sentences of Paragraph 79 of the Complaint,
but denies the third sentence as pled.

80.

The City admits it has multiple collection options as alleged in Paragraph 80
of the Complaint, but to the extent liability or a violation of state or federal law is
alleged, the same is denied.

81.
The City denies the allegations contained in Paragraph 81 of the Complaint

as pled.

82.
The City denies the allegations contained in Paragraph 82 of the Complaint

as pled.

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83.

The City can neither admit nor deny the allegations contained in the first two
sentences in Paragraph 83 of the Amended Complaint, but denies the remaining
allegations as pled.

84.

The City denies the allegations contained in Paragraph 84 of the Amended
Complaint as pled.

85.

The City denies the allegations contained in Paragraph 85 of the Amended
Complaint as pled.

86.

The City admits the allegations contained in Paragraph 86 of the Amended
Complaint to the extent it states that in the past the City required a Social Security
Number, but to the extent liability or a violation of state or federal law is alleged,
the same is denied.

87.
The City admits the allegations contained in Paragraph 87 of the Amended

Complaint, except the City denies the nomenclature used by Plaintiffs as a City

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policy. Further, the City denies all other allegations not specifically admitted in
Paragraph 87 of the Amended Complaint.
88.

The City admits the allegations contained in Paragraph 88 of the Amended
Complaint.

89.

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 89 of Plaintiffs' Amended
Complaint and can neither admit nor deny the same, but to the extent liability for
violation of any state or federal law is alleged, the same is denied.

90.

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 90 of Plaintiffs' Amended
Complaint and can neither admit nor deny the same.

91.

The City is without sufficient information to form a belief as to the truth or

falsity of the allegations contained in Paragraph 91 of Plaintiffs’ Amended

Complaint and can neither admit nor deny the same.

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92.

The City admits the first sentence of Paragraph 92 of Plaintiffs’ Amended
Complaint, but is without sufficient information to form a belief as to the truth or
falsity of the remaining allegations contained in Paragraph 92 of Plaintiffs’
Amended Complaint and can neither admit nor deny the same.

93.

The City admits the allegations contained in the first three sentences of
Paragraph 93 of Plaintiffs' Amended Complaint, but to the extent liability for
violation of any state or federal law is alleged, the same is denied as the City no
longer requires a Social Security Number. The City admits it does not determine a
credit score if an applicant does not provide an SSN, and charges a maximum
deposit.

94.

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 94 of Plaintiffs' Amended
Complaint and can neither admit nor deny the same, but to the extent liability for

violation of any state or federal law is alleged, the same is denied.

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95,

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 95 of Plaintiffs’ Amended
Complaint and can neither admit nor deny the same, but to the extent liability for
violation of any state or federal law is alleged, the same is denied.

96.

The City denies the allegations contained in Paragraph 96 of the Amended
Complaint as pled.

97.

The City admits the allegations contained in Paragraph 97 of the Amended
Complaint, but denies the stated fine and sentence is exclusive to this issue.

98.

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 98 of Plaintiffs’ Amended
Complaint and can neither admit nor deny the same, but to the extent liability for
violation of any state or federal law is alleged, the same is denied.

99.
The City denies the allegations contained in Paragraph 99 of the Amended

Complaint.

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100.

The City denies the allegations contained in Paragraph 100 of the Amended
Complaint.

101.

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 101 of Plaintiffs’ Amended
Complaint and can neither admit nor deny the same.

102.

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 102 of Plaintiffs' Amended
Complaint and can neither admit nor deny the same.

103.

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 103 of Plaintiffs' Amended
Complaint and can neither admit nor deny the same.

104.
The City denies the allegations contained in Paragraph 104 of the Amended

Complaint as pled.

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105.

The City denies the allegations contained in Paragraph 105 of the Amended
Complaint as pled.

106.

The City admits the information was on its form at one point as alleged in
Paragraph 106 of the Amended Complaint, but has since been corrected.

107.

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 107 of Plaintiffs' Amended
Complaint and can neither admit nor deny the same, but to the extent liability for
violation of any state or federal law is alleged, the same is denied.

108.

The City admits the information was on its form at one point as alleged in

Paragraph 108 of the Amended Complaint, but has since been corrected.
109.

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 109 of Plaintiffs’ Amended
Complaint and can neither admit nor deny the same, but to the extent liability for

violation of any state or federal law is alleged, the same is denied.

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110.

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 105 of Plaintififs' Amended
Complaint and can neither admit nor deny the same, but to the extent liability for
violation of any state or federal law is alleged, the same is denied.

111.

The City admits the allegations contained in Paragraph 111 of the Amended

Complaint as being in effect at one time, but has since been rescinded.
112.

The City denies the allegations contained in Paragraph 112 of Plaintiffs’

Amended Complaint.
113.
The City denies the allegations contained in Paragraph 113 of the Amended

Complaint as pled.

ANSWER TO: INJURIES TO PLAINTIFFS

114.
The City denies the allegations contained in Paragraph 114 of the Amended

Complaint.

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115.
The City denies the allegations contained in Paragraph 115 of the Amended
Complaint.
116.
The City denies the allegations contained in Paragraph 116 of the Amended
Complaint as pled.
7,
The City denies the allegations contained in Paragraph 117 of the Amended
Complaint.
118.
The City denies the allegations contained in Paragraph 118 of the Amended
Complaint.
119.
The City denies the allegations contained in Paragraph 119 of the Amended
Complaint.
120.
The City denies the allegations contained in Paragraph 120 of the Amended

Complaint.

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121.
The City denies the allegations contained in Paragraph 121 of the Amended
Complaint.
122;
The City denies the allegations contained in Paragraph 122 of the Amended
Complaint.
123.
The City denies the allegations contained in Paragraph 123 of the Amended
Complaint.
124.
The City denies the allegations contained in Paragraph 124 of the Amended
Complaint.
125,
The City denies the allegations contained in Paragraph 125 of the Amended
Complaint.
126.
The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 126 of Plaintiffs’ Amended

Complaint and can neither admit nor deny the same.

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127.

The City denies the allegations contained in Paragraph 127 of the Amended
Complaint.

128.

The City denies the allegations contained in Paragraph 128 of the Amended
Complaint.

129,

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 129 of Plaintiffs’ Amended
Complaint and can neither admit nor deny the same.

130.

The City denies the allegations contained in Paragraph 130 of the Amended
Complaint.

131.

The City denies the allegations contained in Paragraph 131 of the Amended
Complaint.

132.
The City denies the allegations contained in Paragraph 132 of the Amended

Complaint.

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133.

The City admits Mr. Brewer is deceased. The City is without sufficient
information to form a belief as to the truth or falsity of the remaining allegations
contained in Paragraph 133 of Plaintiffs’ Amended Complaint and can neither
admit nor deny the same.

134,

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 134 of Plaintiffs’ Amended
Complaint and can neither admit nor deny the same.

13o-

The City admits the allegations contained in Paragraph 135 of the Amended
Complaint.

136.

The City admits the allegations contained in Paragraph 136 of the Amended
Complaint.

137.
The City admits the allegations contained in Paragraph 137 of the Amended

Complaint.

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138.
The City admits the allegations contained in Paragraph 138 of the Amended
Complaint.
139.
The City denies the allegations contained in Paragraph 139 of the Amended
Complaint.
140.
The City admits the allegations contained in Paragraph 140 of the Amended
Complaint.
141,
The City denies the first clause of the first sentence of Paragraph 141 of the
Amended Complaint, but admits the remainder.
142.
The City admits the allegations contained in Paragraph 142 of the Amended
Complaint.
143.
The City admits the allegations contained in Paragraph 143 of the Amended

Complaint, but denies the date cited is correct.

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144.

The City denies the allegations contained in Paragraph 144 of the Amended

Complaint as pled as the basis of disconnection did not involve court fines debt.
145.

The City denies the allegations contained in Paragraph 145 of the Amended
Complaint, as the City did not "threaten" Mr. Brewer, and as payment did not
apply to "court debt."

146.

The City admits the allegations contained in Paragraph 146 of the Amended

Complaint, except the City denies it "threatened" Mr. Brewer.
147.

The City admits the allegations contained in Paragraph 147 of the Amended

Complaint.
148.
The City denies the allegations contained in Paragraph 148 of the Amended

Complaint.

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149.

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 149 of Plaintiffs' Amended
Complaint and can neither admit nor deny the same.

150.

The City admits the allegations contained in the first two clauses of the first
sentence of Paragraph 115 of the Amended Complaint, but denies the remaining
allegations as pled.

151.

The City admits Mr. Brewer passed away in August 2018, but denies the rest

of allegations contained in Paragraph 151 of the Amended Complaint.
152.

The City admits the allegations contained in Paragraph 152 of the Amended

Complaint.
153.
The City admits the allegations contained in Paragraph 153 of the Amended

Complaint.

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154,
The City admits the allegations contained in Paragraph 154 of the Amended
Complaint.
155.
The City admits the allegations contained in Paragraph 155 of the Amended
Complaint.
156.
The City admits the allegations contained in Paragraph 156 of the Amended
Complaint.
157.
The City denies the first clause of the first sentence of Paragraph 157 of the
Amended Complaint, but admits the remainder.
158,
The City admits it sent the letter referenced as the alleged in Paragraph 158
of the Amended Complaint, but denies it was false.
159.
The City admits the allegations contained in Paragraph 159 of the Amended

Complaint.

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160.

The City admits the allegations contained in Paragraph 160 of the Amended

Complaint, but denies it was "threatening."
161.

The City admits the allegations contained in Paragraph 161 of the Amended
Complaint.

162.

The City denies the first sentence of Paragraph 162 of the Amended
Complaint, but admits the remainder.

163.

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 163 of Plaintiffs! Amended
Complaint and can neither admit nor deny the same, but to the extent Plaintiff
alleges liability on the part of the City, the same is denied.

164.

The City denies the first sentence of Paragraph 164 of the Amended

Complaint, but admits the first clause of the second sentence, but denies the

remainder of the second sentence as pled.

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165.

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 165 of Plaintiffs’ Amended
Complaint and can neither admit nor deny the same, but to the extent Plaintiff
alleges liability on the part of the City, the same is denied.

166.

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 166 of Plaintiffs' Amended
Complaint and can neither admit nor deny the same.

167.

The City admits the allegations contained in Paragraph 167 of the Amended
Complaint.

168.

The City admits the fine assessed in the first sentence, but denies the portion
regarding the "$44 in monthly probation supervision fees," as it was a $35
probation supervision fee and $9 crime victim fee remitted to the State. The City
admits the third sentence of Paragraph 168 of the Amended Complaint, but denies

the second sentence.

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169.

The City admits the allegations contained in Paragraph 169 of the Amended
Complaint.

170.

The City admits the allegations contained in Paragraph 170 of the Amended
Complaint.

171,

The City admits the allegations contained in Paragraph 171 of the Amended
Complaint.

We

The City admits the allegations contained in Paragraph 172 of the Amended
Complaint.

173,

The City admits the allegations contained in Paragraph 173 of the Amended
Complaint as to Ms. Walton having made payments, but denies the date is correct
as it was February 23, 2017.

174.
The City admits Mrs. Walton received an automated phone call as

referenced in the first sentence of Paragraph 174 of the Amended Complaint, but

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denies it was "threatening." The City has no knowledge of Mrs. Walton's ability to
pay and therefore denies the remaining allegations as pled.
175.

The City admits the allegations contained in Paragraph 175 of the Amended
Complaint.

176.

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 176 of Plaintiffs' Amended
Complaint and can neither admit nor deny the same, but to the extent liability is
alleged against the City, the same is denied.

177.

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 177 of Plaintiffs' Amended
Complaint and can neither admit nor deny the same, but to the extent liability is
alleged against the City, the same is denied.

178.

The City admits Mrs. Walton paid her outstanding balance and her utilities

were restored as alleged in Paragraph 178 of the Amended Complaint, but denies

knowledge as to the source of her funds.

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179.

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 179 of Plaintiffs' Amended
Complaint and can neither admit nor deny the same, but to the extent liability is
alleged against the City, the same is denied.

180.

The City admits the allegations contained in Paragraph 180 of the Amended
Complaint, because Ms. Walton did not pay for any of her utilities for three
months.

181.

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 181 of Plaintiffs' Amended
Complaint and can neither admit nor deny the same, but to the extent liability is
alleged against the City, the same is denied.

182.

The City admits that Ms. Walton's court debt still remains a valid debt to the
City, but she no longer has a current utility account, but the City is without
sufficient information to form a belief as to the truth or falsity of the remaining

allegations contained in Paragraph 182 of Plaintiffs' Amended Complaint and can

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neither admit nor deny the same, but to the extent liability is alleged against the
City, the same is denied.
183.

The City denies the allegations contained in Paragraph 183 of the Amended
Complaint.

184.

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 184 of Plaintiffs' Amended
Complaint and can neither admit nor deny the same, but to the extent liability is
alleged against the City, the same is denied.

185.

The City is without sufficient information to form a belief as to the truth or
falsity of the allegations contained in Paragraph 185 of Plaintiffs’ Amended
Complaint and can neither admit nor deny the same, but to the extent liability is
alleged against the City, the same is denied.

186.
The City is without sufficient information to form a belief as to the truth or

falsity of the allegations contained in Paragraph 186 of Plaintiffs' Amended

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Complaint and can neither admit nor deny the same, but to the extent liability is
alleged against the City, the same is denied.
187.

The City denies the allegations contained in Paragraph 187 of the Amended
Complaint as pled.

188.

The City denies the allegations contained in Paragraph 188 of the Amended
Complaint.

189.

The City can neither admit nor deny allegations by an unidentified person as
set forth in Paragraph 189 of the Amended Complaint.

190.

The City denies the allegations contained in Paragraph 190 of the Amended
Complaint as pled, and further, the City does not currently require a Social
Security Number.

191,
The City can neither admit nor deny allegations by an unidentified person as

set forth in Paragraph 191 of the Amended Complaint.

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192.

The City can neither admit nor deny allegations by an unidentified person as

set forth in Paragraph 192 of the Amended Complaint.
193.

The City can neither admit nor deny allegations by an unidentified person as
set forth in Paragraph 193 of the Amended Complaint, but to the extent liability is
alleged against the City, the same is denied.

194,

The City can neither admit nor deny allegations by an unidentified person as
set forth in Paragraph 194 of the Amended Complaint, but to the extent liability is
alleged against the City, the same is denied.

195.

The City can neither admit nor deny allegations by an unidentified person as
set forth in Paragraph 195 of the Amended Complaint, but to the extent liability is
alleged against the City, the same is denied.

196.

The City can neither admit nor deny allegations by an unidentified person as

set forth in Paragraph 196 of the Amended Complaint, but to the extent liability is

alleged against the City, the same is denied as its rules are non-discriminatory.

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197,

The City can neither admit nor deny allegations by an unidentified person as

set forth in Paragraph 197 of the Amended Complaint.
198.

The City can neither admit nor deny allegations by an unidentified person as
set forth in Paragraph 198 of the Amended Complaint, but to the extent liability is
alleged against the City, the same is denied, and further, the City does not currently
require a Social Security Number.

199,

The City can neither admit nor deny allegations by an unidentified person as
set forth in Paragraph 199 of the Amended Complaint, but to the extent liability is
alleged against the City, the same is denied.

200.

The City can neither admit nor deny allegations by an unidentified person as

set forth in Paragraph 200 of the Amended Complaint, but to the extent liability is

alleged against the City, the same is denied.

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201.

The City can neither admit nor deny allegations by an unidentified person as
set forth in Paragraph 201 of the Amended Complaint, but to the extent liability is
alleged against the City, the same is denied.

202.

The City can neither admit nor deny allegations by an unidentified person as
set forth in Paragraph 202 of the Amended Complaint, but to the extent liability is
alleged against the City, the same is denied.

203.

The City can neither admit nor deny allegations by an unidentified person as
set forth in Paragraph 203 of the Amended Complaint, but to the extent liability is
alleged against the City, the same is denied.

204.

The City can neither admit nor deny allegations by an unidentified person as

set forth in Paragraph 204 of the Amended Complaint, but to the extent liability is

alleged against the City, the same is denied.

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205.

The City can neither admit nor deny allegations by an unidentified person as
set forth in Paragraph 205 of the Amended Complaint, but to the extent liability is
alleged against the City, the same is denied as its rules are non-discriminatory.

206.

The City can neither admit nor deny allegations by an unidentified person as

set forth in Paragraph 206 of the Amended Complaint.
207.

The City can neither admit nor deny allegations by an unidentified person as
set forth in Paragraph 207 of the Amended Complaint, but to the extent liability is
alleged against the City, the same is denied, and further, the City does not currently
require a Social Security Number.

208.

The City can neither admit nor deny allegations by an unidentified person as

set forth in Paragraph 208 of the Amended Complaint.
209.

The City can neither admit nor deny allegations by an unidentified person as

set forth in Paragraph 209 of the Amended Complaint, but to the extent liability is

alleged against the City, the same is denied.

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210.

The City can neither admit nor deny allegations by an unidentified person as

set forth in Paragraph 210 of the Amended Complaint.
211.

The City admits the first sentence of Paragraph 211 of the Amended
Complaint and the Ordinance references, but can neither admit nor deny
allegations by an unidentified person as set forth in Paragraph 211 of the Amended
Complaint.

212.

The City can neither admit nor deny allegations by an unidentified person as
set forth in Paragraph 212 of the Amended Complaint, but to the extent liability is
alleged against the City, the same is denied.

213.

The City can neither admit nor deny allegations by an unidentified person as

set forth in Paragraph 213 of the Amended Complaint, but to the extent liability is

alleged against the City, the same is denied.

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214.
The City can neither admit nor deny allegations by an unidentified person as
set forth in Paragraph 214 of the Amended Complaint, but to the extent liability is

alleged against the City, the same is denied as its rules are non-discriminatory.

ANSWER TO: CLAIMS FOR RELIEF

215.
The City reasserts and reincorporates its responses to Paragraphs 1 — 214 as
if fully set forth herein.
216.
Plaintiffs cite the statutory basis for their Amended Complaint in Paragraph
216 of the Amended Complaint and the statutory recitation is admitted, but the city
denies it has violated the statute, and is therefore not liable to Plaintiffs.
217.
Plaintiffs cite the statutory basis for their Amended Complaint in Paragraph
217 of the Amended Complaint and the statutory recitation is admitted, but the city

denies it has violated the statute, and is therefore not liable to Plaintiffs.

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218.
Plaintiffs cite the statutory basis for their Amended Complaint in Paragraph
218 of the Amended Complaint and the statutory recitation is admitted, but the city
denies it has violated the statute, and is therefore not liable to Plaintiffs.
219.
The City admits the allegations contained in Paragraph 208 of the Amended
Complaint.
220.
Plaintiffs cite the statutory basis for their Amended Complaint in Paragraph
220 of the Amended Complaint and the statutory recitation is admitted, but the city
denies it has violated the statute, and is therefore not liable to Plaintiffs.
221.
The City denies the allegations contained in Paragraph 221 of the Amended
Complaint.
222;
The City denies the allegations contained in Paragraph 222 of the Amended

Complaint.

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223.
The City denies the allegations contained in Paragraph 223 of the Amended
Complaint.
224.
The City denies the allegations contained in Paragraph 224 of the Amended

Complaint.

ANSWER TO: SECOND CAUSE OF ACTION

225.
The City reasserts and reincorporates its responses to Paragraphs 1 — 224 as
if fully set forth herein.
226.
The City denies the allegations contained in Paragraph 226 of the Amended
Complaint as pled.
227.
The City admits the allegations contained in Paragraph 227 of the Amended
Complaint.
228,
The City denies the allegations contained in Paragraph 228 of the Amended

Complaint.

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229,
The City denies the allegations contained in Paragraph 218 of the Amended

Complaint.

ANSWER TO: THIRD CAUSE OF ACTION

230.
The City reasserts and reincorporates its responses to Paragraphs 1 — 229 as
if fully set forth herein.
231.
The City denies the allegations contained in Paragraph 231 of the Amended
Complaint.
232.
The City denies the allegations contained in Paragraph 232 of the Amended
Complaint as pled.
233.
The City denies the allegations contained in Paragraph 233 of the Amended
Complaint as pled.
234.
The City denies the allegations contained in Paragraph 234 of the Amended

Complaint.

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235.
The City denies the allegations contained in Paragraph 235 of the Amended
Complaint.
236.
The City denies the allegations contained in Paragraph 236 of the Amended
Complaint.
237.
The City denies the allegations contained in Paragraph 237 of the Amended
Complaint.
238.
The City denies the allegations contained in Paragraph 238 of the Amended

Complaint.

ANSWER TO: FOURTH CAUSE OF ACTION

239,
The City reasserts and reincorporates its responses to Paragraphs | — 238 as

if fully set forth herein.

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240.
The City denies the allegations contained in Paragraph 240 of the Amended
Complaint.
241.
The City denies the allegations contained in Paragraph 241 of the Amended

Complaint.

ANSWER TO: PRAYER FOR RELIEF

242.
The City denies the allegations and prayers contained in Paragraph 225 of

the Amended Complaint and each subpart thereof.

ANSWER TO: DEMAND FOR JURY TRIAL

243.
The City denies that Plaintiffs are entitled to a jury trial as set forth in

Paragraph 226 of the Amended Complaint as the City is not liable to Plaintiffs.

244.
Any allegation not specifically responded to is denied.
WHEREFORE, having fully answered, the City prays the following:

i) That Plaintiffs' Amended Complaint be dismissed;

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ii) In the alternative, that the City receive a trial by jury;
iii) That Plaintiffs take nothing;
iv) That the City be awarded its costs and fees incurred in this action; and
v) That the City receive such other relief as the Court deems just and
proper.
Respectfully submitted this 19th day of February, 2020.
HALL BOOTH SMITH, P.C.

/s/ Kenneth D. Jones

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

GEORGIA STATE CONFERENCE
OF THE NAACP; TROUP COUNTY
NAACP; PROJECT SOUTH;
CHARLES BREWER; CALVIN
MORELAND; APRIL WALTON;
PAMELA WILLIAMS; JOHN

DOE #1, JOHN DOE #2; and JOHN

DOE #3, CIVIL ACTION FILE

Plaintiffs, NO. 3:17-CV-67-TCB

V.
CITY OF LAGRANGE, GEORGIA,

Defendant.

CERTIFICATE OF COMPLIANCE

The foregoing DEFENDANT CITY OF LAGRANGE, GEORGIA'S
ANSWER TO PLAINTIFFS' AMENDED COMPLAINT is double spaced in 14
point Times New Roman font and complies with the type-volume limitation set forth
in Local Rule 7.1.

Respectfully submitted this 19th day of February, 2020.

[SIGNATURE ON FOLLOWING PAGE]

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City

of
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

GEORGIA STATE CONFERENCE
OF THE NAACP; TROUP COUNTY
NAACP; PROJECT SOUTH;
CHARLES BREWER; CALVIN
MORELAND; APRIL WALTON;
PAMELA WILLIAMS; JOHN

DOE #1, JOHN DOE #2; and JOHN

DOE #3, CIVIL ACTION FILE

Plaintiffs, NO. 3:17-CV-67-TCB

V.
CITY OF LAGRANGE, GEORGIA,

Defendant.

CERTIFICATE OF SERVICE

This is to certify that I have this day served all parties with a copy of the
within and foregoing DEFENDANT CITY OF LAGRANGE, GEORGIA'S
ANSWER TO PLAINTIFFS' AMENDED COMPLAINT by electronically
filing the foregoing with the Clerk by using the CM/ECF system and/or depositing
same in the United States postal service, proper postage affixed, to ensure delivery,

in an envelope addressed as follows:

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